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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          4:06CR3027
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )          ORDER
RUBEN DARIO NUNEZ,                           )
                                             )
                     Defendant.              )

       IT IS ORDERED that:

       (1)    The defendant’s motion to continue sentencing (filing 137) is granted.

      (2)     Defendant Nunez’s sentencing has been rescheduled before the undersigned
United States district judge to Thursday, January 4, 2007, at 1:00 p.m., in Courtroom No. 1,
United States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln,
Nebraska. The defendant shall be present unless excused by the court.

       December 12, 2006.                 BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
